 Case 1:17-cv-00613-JTN-ESC ECF No. 47 filed 08/10/18 PageID.276 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


 DEREK ANTOL, et al.,

         Plaintiffs,
                                                                     Case No. 1:17-cv-613
 v.
                                                                     HON. JANET T. NEFF
 ADAM DENT, et al.,

         Defendants.
 ____________________________/


                                             ORDER

       The Court having conducted a Pre-Motion Conference with counsel on August 10, 2018

concerning Defendants’ proposed dispositive motions (ECF Nos. 39 & 40):

       IT IS HEREBY ORDERED that Plaintiffs’ counsel shall, not later than August 17, 2018,

file a Stipulation and Proposed Order to correct the spelling of Defendant Strauss and to correctly

identify the minor Plaintiffs.

       IT IS FURTHER ORDERED that attorney Hughes shall, not later than August 24, 2018,

make a filing to clarify his representation of Defendant Kutches.

       IT IS FURTHER ORDERED that the parties shall proceed with briefing Defendants

Bringedahl, Dent, Kutches and Straus’ Motion for Summary Judgment (ECF No. 39) in

accordance with the following schedule:

       (1)      Defendants’ Motion and Brief shall be served and a proof of service filed not later
                than August 31, 2018;

       (2)      Plaintiffs’ Response shall be served and a proof of service filed within 28 days of
                service of the Motion;

       (3)      Defendants’ Reply, if any, shall be served and a proof of service filed within 14
                days of service of the Response; and
  Case 1:17-cv-00613-JTN-ESC ECF No. 47 filed 08/10/18 PageID.277 Page 2 of 2



        (4)     The parties shall electronically file their respective motion papers as soon as the
                motion is fully briefed.


        IT IS FURTHER ORDERED that the parties shall proceed with briefing Defendant

Trucks’ Motion for Summary Judgment (ECF No. 40) in accordance with the following schedule:

        (1)     Defendant Trucks’ Motion and Brief, limited to 15 pages, shall be served and a
                proof of service filed not later than September 28, 2018;

        (2)     Plaintiffs’ Response, limited to 15 pages, shall be served and a proof of service filed
                within 28 days of service of the Motion;

        (3)     Defendant Trucks’ Reply, if any, limited to 7 pages, shall be served and a proof of
                service filed within 14 days of service of the respective Response; and

        (4)     The parties shall electronically file their respective motion papers as soon as the
                motion is fully briefed.

The parties shall otherwise adhere to the requirements for briefing and filing dispositive motions, as

set forth in Judge Neff’s Information and Guidelines for Civil Practice, available on the Court’s

website (www.miwd.uscourts.gov).

        IT IS FURTHER ORDERED that the parties shall adhere to this Court’s February 9, 2016,

Administrative Order No. 16-MS0-017 when referencing a page of the record.

        IT IS FURTHER ORDERED that the parties shall collaborate and file a Joint Exhibit Book

to avoid duplicative exhibits, and shall file a Joint Statement of Material Facts in conjunction with

the motions.



Dated: August 10, 2018                                          /s/ Janet T. Neff
                                                               JANET T. NEFF
                                                               United States District Judge




                                             Page 2 of 2
